Case 3:16-cr-00122-TJC-MCR Document 99 Filed 09/25/20 Page 1 of 4 PageID 1251




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                            CASE NO: 3:16-cr-122-J-32MCR

KARAMCHAND DOOBAY                             ORDER ON MOTION FOR
                                              SENTENCE REDUCTION UNDER
                                              18 U.S.C. § 3582(c)(1)(A)


                                     ORDER

       Upon motion of      the defendant     the Director of the Bureau of Prisons for

a reduction in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the

applicable factors provided in 18 U.S.C. § 3553(a) and the applicable policy

statements issued by the Sentencing Commission,

IT IS ORDERED that the motion is:

     DENIED after complete review of the motion on the merits. 1

           FACTORS CONSIDERED

       Defendant is a 46-year-old inmate incarcerated at Big Spring CI, serving a 151-

month term of imprisonment for conspiracy to commit mail and wire fraud and

conspiracy to commit wire fraud. (Doc. 72, Judgment). According to the Bureau of

Prisons (BOP), he is scheduled to be released from prison on May 23, 2027. Defendant

seeks compassionate release because of the Covid-19 pandemic and because he claims

to have asthma, high blood pressure, and an enlarged prostate. (Doc. 95 at 2).




1      Doobay has exhausted his administrative remedies.
Case 3:16-cr-00122-TJC-MCR Document 99 Filed 09/25/20 Page 2 of 4 PageID 1252




      A movant for compassionate release bears the burden of proving that a

reduction in sentence is warranted. United States v. Heromin, No. 8:11-cr-550-T-

33SPF, 2019 WL 2411311, at *2 (M.D. Fla. Jun. 7, 2019); cf. United States v.

Hamilton, 715 F.3d 328, 337 (11th Cir. 2013) (a movant under § 3582(c)(2) bears the

burden of proving that a sentence reduction is appropriate). As the Third Circuit

Court of Appeals has observed, the mere existence of Covid-19 cannot independently

justify compassionate release, “especially considering BOP's statutory role, and its

extensive and professional efforts to curtail the virus's spread.” United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020).

      Defendant has not demonstrated extraordinary and compelling reasons

warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13 &

cmt. 1. Defendant admits that none of the examples of extraordinary and compelling

circumstances enumerated in § 1B1.13’s commentary applies to him. (Doc. 95 at 5).

Rather, Defendant argues that he qualifies for compassionate release under the

“other reasons” catch-all category, § 1B1.13, cmt. 1(D). (Doc. 95 at 5-8). Application

Note 1(D) provides that a reason other than those enumerated in the commentary

may qualify as an extraordinary and compelling reason for compassionate release,

but such “other reason[ ]” must be “determined by the Director of the Bureau of

Prisons.” U.S.S.G. § 1B1.13, cmt. 1(D). “By its own terms, this provision does not

authorize the Court to invent new or additional ‘extraordinary and compelling

reasons’ for compassionate release.” United States v. Copeland, No. 3:11-cr-281-J-

34JBT, 2020 WL 4193554, at *2 (M.D. Fla. July 21, 2020). For the reasons stated in




                                           2
Case 3:16-cr-00122-TJC-MCR Document 99 Filed 09/25/20 Page 3 of 4 PageID 1253




Copeland, 2020 WL 4193554, at *2-3, the Court rejects Defendant’s argument that

Application Note 1(D) authorizes the Court to grant compassionate release based on

its own definition of extraordinary and compelling circumstances.

      Moreover, Defendant is not eligible for compassionate release because the

sentencing factors under 18 U.S.C. § 3553(a) do not support a reduction in sentence.

18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. Defendant was convicted of two serious

fraud offenses, which resulted in 84 victims suffering losses ranging from $25,000 to

$1.5 million. (Doc. 63, Presentence Investigation Report [PSR] at ¶ 35). In total,

Defendant defrauded the victims of more than $8.6 million. (Id. at ¶ 39). The Court

has reviewed letters from several of the victims (Doc. 97-1, Victim Letters), all of

whom except one opposes Defendant’s request for compassionate release. The victims

describe the significant financial loss and emotional suffering they have endured

because of Defendant’s criminal behavior.

      Defendant has served less than half of his 151-month prison term. In view of

all the § 3553(a) factors, releasing Defendant from prison nearly seven years early

would not be consistent with the statutory purposes of sentencing. See United States

v. Rodd, 966 F.3d 740, 741-42, 747-48 (8th Cir. 2020) (district court properly denied

compassionate release based on the § 3553(a) factors where defendant was convicted

of fraud offenses totaling $1.8 million in losses, even though defendant suffered from

congestive heart failure, hypertension, atrial fibrillation, morbid obesity, and

diabetes); United States v. Pawlowski, 967 F.3d 327, 330-31 (3d Cir. 2020) (similar).




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Case 3:16-cr-00122-TJC-MCR Document 99 Filed 09/25/20 Page 4 of 4 PageID 1254




        Accordingly, Defendant’s Motion for Compassionate Release (Doc. 95) is

DENIED. 2 The Court directs the United States to provide a copy of this Order to

each of the victims who submitted a letter to the Court.

        DONE AND ORDERED at Jacksonville, Florida this 25th day of September,

2020.




                                                    TIMOTHY J. CORRIGAN
                                                    United States District Judge




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Copies:
Counsel of record
Defendant




2      To the extent Defendant requests that the Court order home confinement, the
Court cannot grant that request because the Attorney General has exclusive
jurisdiction to decide which prisoners to place in the home confinement program. See
United States v. Alvarez, No. 19-cr-20343-BLOOM, 2020 WL 2572519, at *2 (S.D.
Fla. May 21, 2020); United States v. Calderon, 801 F. App’x 730, 731-32 (11th Cir.
2020) (a district court lacks jurisdiction to grant a request for home confinement
under the Second Chance Act).


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